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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NBA PROPERTIES, INC., MLB ADVANCED
MEDIA, L.P., MAJOR LEAGUE BASEBALL                  Case No. 18-cv-04558
PROPERTIES, INC., NHL ENTERPRISES,
L.P., IMG COLLEGE LICENSING, LLC, and
BOARD OF REGENTS OF THE
UNIVERSITY OF NEBRASKA ON BEHALF
OF THE UNIVERSITY OF NEBRASKA-
LINCOLN,
                        Plaintiffs,
v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                        COMPLAINT

       Plaintiffs NBA Properties, Inc. (“NBAP”), MLB Advanced Media, L.P. ("MLBAM"),

Major League Baseball Properties, Inc. (“MLBP”), NHL Enterprises, L.P. (“NHLE”), IMG

College Licensing, LLC (“IMGCL”), and the Board of Regents of the University of Nebraska on

behalf of the University of Nebraska – Lincoln (“UN Board of Regents”), collectively

“Plaintiffs,” hereby bring the present action against the Partnerships and Unincorporated

Associations identified on Schedule A attached hereto (collectively, “Defendants”) and allege as

follows:

                               I. JURISDICTION AND VENUE

       1.     This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b),

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under
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the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

        2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Defendant Domain

Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Internet Stores

through which Illinois residents can purchase unlicensed counterfeit products using Plaintiffs’

trademarks. Each of the Defendants targets sales from Illinois residents by operating online

stores that offer for sale unlicensed counterfeit products using one or more of Plaintiffs’

trademarks to residents of Illinois, offer shipping to the United States, including Illinois, accept

payment in U.S. dollars, and on information and belief, has sold and continues to sell products

using counterfeit versions of Plaintiffs’ trademarks.     In fact, the commercial nature of the

Defendant Internet Stores and Defendants’ intent to sell to Illinois residents is further confirmed

by purchases that have been ordered from a sampling of the Defendant Internet Stores.

Accordingly, each of the Defendants is committing tortious acts in Illinois, is engaging in

interstate commerce, and has wrongfully caused Plaintiffs substantial injury in the State of

Illinois.




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                                     II. INTRODUCTION

       3.      This action has been filed by Plaintiffs to combat online counterfeiters who trade

upon Plaintiffs’ reputation and goodwill by selling and/or offering for sale unauthorized and

unlicensed counterfeit products using counterfeits of one or more of the trademarks owned

and/or licensed by the Plaintiffs (the “Counterfeit Products”). Defendants create the Defendant

Internet Stores by the thousands and design them to appear to be selling licensed products

featuring one or more of the trademarks owned and/or licensed by Plaintiffs, while, upon

information and belief, actually selling Counterfeit Products to unknowing consumers who make

purchases from the Defendant Internet Stores. The Defendant Internet Stores share unique

identifiers, such as design elements of and/or similarities to the counterfeit products offered for

sale, establishing a logical relationship among them and suggesting that Defendants’

counterfeiting operation arises out of the same transaction, occurrence, or series of transactions

or occurrences. Defendants attempt to avoid liability by going to great lengths to conceal both

their identities and the full scope and interworking of their counterfeiting operation. Plaintiffs

are forced to file these actions to combat Defendants’ counterfeiting of the trademarks owned or

licensed by the Plaintiffs, as well as to protect unknowing consumers from purchasing

Counterfeit Products over the Internet. Plaintiffs have been irreparably harmed and continue to

be irreparably damaged through consumer confusion, dilution, and tarnishment of their valuable

trademarks as a result of Defendants’ actions and seek injunctive and monetary relief.




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                                       III. THE PARTIES

The Plaintiffs

NBA Properties, Inc.

         4.      Plaintiff NBAP is a corporation duly organized and existing under the laws of the

State of New York with its principal place of business at 645 Fifth Avenue, New York, New

York.

         5.      The National Basketball Association (“NBA”) is an unincorporated association

and professional basketball league, comprised of thirty (30) member teams (“NBA Teams”),

including the Chicago Bulls, that provide professional basketball entertainment services and that

collectively own NBAP.          NBAP manages trademark affairs, including licensing and

enforcement, for the NBA and NBA Teams.

         6.      NBAP is the owner and/or the exclusive licensee of the famous and distinctive

trademarks of the NBA and the NBA Teams, and is authorized to enforce the rights in those

trademarks.    NBAP commercially exploits, protects and enforces rights in the famous and

distinctive trademarks, names, logos, symbols, emblems, uniform designs, uniform trade dress

colors, and other identifying indicia associated with the NBA and the NBA Teams (collectively,

the “NBA Trademarks”), including, but not limited to, those that are the subject of valid and

subsisting trademark registrations on the Principal Register of the United States Patent and

Trademark Office and those that NBAP and the NBA Teams have adopted and used in

commerce throughout the United States, including in Illinois. NBAP owns more than one

hundred fifty (150) United States Federal Trademark Registrations in a variety of classes and for

a variety of different goods and services, including, without limitation, many for apparel, such as

jerseys, shirts, caps, and other products in international class 25. Among the NBA Trademarks



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owned by NBAP and registered before the United States Patent and Trademark Office are the



word mark “NBA” (reg. no. 1,833,902) and the NBA Player Silhouette Logo:               (reg. no.

1,966,924). A partial list of the famous and distinctive NBA Trademarks owned by NBAP,

registered before the United States Patent and Trademark Office, and currently in use in

commerce includes the following:

   Registration        Trademark                         Goods and Services
    Number
                                        For: clothing, namely, hosiery, footwear, sweat
                                        shirts, sweatpants, pants, tank tops, jerseys, shorts,
                                        pajamas, sport shirts, rugby shirts, belts, ties,
 1,833,902                NBA
                                        nightshirts, hats, warm-up suits, jackets, parkas,
                                        coats, cloth bibs, head bands and wrist bands in class
                                        025.

                                        For: clothing, namely, hosiery, footwear, t-shirts,
                                        sweatshirts, sweatpants, pants, tank tops, jerseys,
                                        shorts, pajamas, sport shirts, rugby shirts, sweaters,
                      NATIONAL
 2,183,983                              belts, ties, nightshirts, hats, warm-up suits, jackets,
                     BASKETBALL
                                        parkas, coats, cloth bibs, head bands, wrist bands,
                     ASSOCIATION
                                        aprons, boxer shorts, slacks, caps, ear muffs and
                                        gloves in class 025.

                                        For: hosiery, footwear, t-shirts, sweat shirts, tank
                                        tops, pajamas, sport shirts, belts, nightshirts,
                                        stocking caps, warm-up or jogging suits, jackets,
 1,525,782                              bibs, head bands and wrist bands in class 025.

                                        For: entertainment services, namely, organizing and
                                        conducting basketball exhibitions in class 041.

                                        For: jewelry; namely, wrist watches, pins, earrings,
                                        necklaces, rings, cuff links and belt buckles in class
                                        014.
 1,715,549




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                                          For: clothing, namely hosiery, footwear, t-shirts,
                                          sweat shirts, sweatpants, pants, tank tops, jerseys,
                                          shorts, pajamas, sport shirts, rugby shirts, sweaters,
 1,966,924                                belts, ties, nightshirts, hats, warm-up suits, jackets,
                                          parkas, coats, cloth bibs, head bands, wrist bands,
                                          aprons, boxer shorts, slacks, caps, ear muffs, and
                                          gloves in class 025.

                                          For: clothing, namely, hosiery, footwear, sweat
                                          shirts, sweatpants, pants, tank tops, jersey, shorts,
                                          pajamas, sport shirts, rugby shirts, sweaters, belts,
 2,157,039                                ties, nightshirts, warm-up suits, parkas, coats, cloth
                                          bibs, head bands and wrist bands in class 025.



                                          For: clothing, namely, hosiery, footwear, sweat
                                          shirts, sweatpants, pants, tank tops, jerseys, shorts,
                                          pajamas, sport shirts, rugby shirts, sweaters, belts,
 2,079,493                                ties, nightshirts, warm-up suits, parkas, coats, cloth
                                          bibs, head bands and wrist bands in class 025.



                                          For: Jewelry; costume jewelry; beaded jewelry;
                                          rubber or silicon wristbands in the nature of a
                                          bracelet, beaded necklaces; beads for use in the
                                          manufacture of jewelry; earrings, necklaces, rings,
                                          bracelets, cuff links, pendants, charms for collar
 5,237,767                                jewelry and bracelets; clocks; watches; watch bands
                                          and watch straps, watch cases, watch fobs; jewelry
                                          boxes, tie clips; medallions; non-monetary coins of
                                          precious metal; precious metals; key chains of
                                          precious metal; key chains as jewelry; figures and
                                          figurines of precious metal; trophies of precious
                                          metals in class 014.

The above U.S. registrations for the NBA Trademarks are valid, subsisting, in full force and

effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the NBA

Trademarks constitute prima facie evidence of their validity and of NBAP’s exclusive right to

use the NBA Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the




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Federal Trademark Registrations for the above NBA Trademarks are attached hereto as Exhibit

1.

       7.     The NBA brand of professional basketball and NBA Trademarks are widely

known to and enormously popular with both sports fans and the general public. NBAP has

promoted and advertised the NBA, the NBA Teams and NBA Trademarks extensively for many

years. NBA Trademarks are among the most renowned and immediately recognizable marks in

professional sports today. As a result of substantial advertising, promotion and media attention,

and NBAP’s extensive licensing and sponsorship program for a wide variety of goods and

services, NBA Trademarks have acquired secondary meaning and represent significant goodwill

of great value to NBAP, the NBA and the NBA Teams.

       8.     Hundreds of millions of fans have attended NBA games and related events,

enjoyed television and radio broadcasts of NBA games and related events, and purchased

merchandise bearing NBA Trademarks to identify with their favorite NBA Teams. Millions visit

<NBA.com>, the official NBA website, as well as the official websites of the individual NBA

Teams, which prominently display, and in many cases are accessed by domain names containing,

NBA Trademarks.

       9.     A significant aspect of NBAP’s business and resulting revenues has been for

many years, and continues to be, the merchandising and licensing of NBA Trademarks. NBAP

has entered into numerous licensing agreements in the United States and around the world,

authorizing use of NBA Trademarks on a wide variety of products, including apparel, caps,

jewelry, toys, furniture, pennants, and bags, among others (collectively, “NBA Products”).

Retail sales of NBA Products exceeded $1 billion in 2016.




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       10.      NBAP, directly and through authorized licensees, has established and maintains

high standards of quality for NBA Products, and continues to maintain stringent quality control

over licensees and other authorized users of NBA Trademarks.

       11.      In supervising licensees, NBAP provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of NBA

Trademarks, including typeface and typography, color renderings, official uniform scripts,

graphic designs, materials, workmanship, and quality. All NBA Products are reviewed under

these strict quality control procedures.

       12.      As a result of the extensive use of NBA Trademarks, not only in connection with

the NBA’s well-known basketball games and related events, but also in connection with a wide

variety of licensed merchandise promoted, sold and/or rendered in the United States and abroad,

as well as widespread use in connection with a broad array of sponsorship activities spanning

diverse industries, such trademarks have for many decades, and long prior to any use made by

Defendants, functioned as unique identifiers and synonyms in the public mind for NBAP, the

NBA, and the NBA Teams. As a result, NBA Trademarks are famous and possess significant

goodwill of great value to NBAP, the NBA and the NBA Teams.

       13.      To protect NBA Trademarks from infringement, dilution, disparagement, and

misappropriation, NBAP, in collaboration with the Coalition to Advance the Protection of Sports

logos (“CAPS”), has established a comprehensive program of trademark protection, including

regularly investigating suspicious websites identified in proactive Internet sweeps and reported

by consumers.




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MLB Advanced Media, L.P. and Major League Baseball Properties, Inc.

        14.   MLBAM is a limited partnership organized under the laws of the State of

Delaware with its principal place of business at 75 Ninth Avenue, New York, New York 10011.

Its general partner is MLB Advanced Media, Inc., a Delaware corporation with its principal

place of business at 75 Ninth Avenue, New York, New York 10011.

        15.   MLBAM is the Internet and interactive media company of Major League

Baseball. MLBAM was established following a unanimous vote by the owners of the 30 Major

League Baseball clubs (the "MLB Clubs") to centralize the Internet and interactive media

operations of Major League Baseball. MLBAM manages and operates the official Major League

Baseball site, <MLB.com>, and each of the official MLB Club sites (e.g., <cubs.com> and

<whitesox.com>) to create the most comprehensive Major League Baseball resource on the

Internet.

        16.   MLBP is a New York corporation with its principal place of business at 245 Park

Avenue, New York, New York 10167.

        17.   MLBP is owned by the Office of the Commissioner of Baseball (the “BOC”), and

is a licensee of, and acts as agent for, the MLB Clubs, the BOC and their affiliates and related

entities (collectively, with MLBAM and MLBP, the “MLB Entities”) with respect to a variety of

matters including the licensing and protection of the MLB Clubs’ trademarks (including those of

the Chicago Cubs and Chicago White Sox) throughout the world.

        18.   Pursuant to agreements among the MLB Entities, MLBAM and MLBP

(collectively, “MLB”) are the owners and/or the exclusive licensees of the famous and distinctive

trademarks of the MLB Entities, and are authorized to enforce the rights in those trademarks.




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       19.     MLB commercially exploits, protects and enforces rights in the famous and

distinctive trademarks, names, logos, symbols, emblems, uniform designs, uniform trade dress

colors, and other identifying indicia associated with the MLB Entities (collectively, the “MLB

Trademarks”), including, but not limited to, those that are the subject of valid and subsisting

trademark registrations on the Principal Register of the United States Patent and Trademark

Office and those that MLB Entities have adopted and used in commerce throughout the United

States, including in Illinois. The MLB Entities own more than one hundred fifty (150) United

States federal trademark registrations in a variety of classes and for a variety of different goods

and services, including, without limitation, many for apparel, such as jerseys, shirts, caps, and

other products in international class 25. Among MLB Trademarks are the word mark “MAJOR

LEAGUE BASEBALL” (reg. no. 1,620,020) and the MLB silhouette logo:                         (reg. no.

1,617,698). A non-exhaustive list of the famous and distinctive MLB Trademarks owned by

certain MLB Entities, registered before the United States Patent and Trademark Office, and

currently in use in commerce, include the following:

Registration           Trademark                            Goods and Services
 Number
                                            For: clothing, namely, shirts, shorts, dresses, socks,
                                            underwear, jackets, sweaters, pants, visors, caps,
                                            bibs, infantwear, namely, baby shorts sets, romper
1,620,020          MAJOR LEAGUE             sets, baby pants, coveralls; outerwear, namely,
                    BASEBALL                uniforms and pullovers, ties, robes and
                                            loungewear, sweatshirts, knitted headwear, hosiery,
                                            wristbands, robes and shoes in class 025.

                                            For: clothing, namely, caps, hats, visors, knitted
                                            headwear, headbands, shirts t-shirts, tank tops,
                                            sweaters, turtlenecks, pullovers, vests, shorts,
2,779,958                 MLB               pants, dresses, baseball uniforms, jerseys,
                                            sweatshirts, sweatpants, underwear, boxer shorts,
                                            sleepwear, jackets, cloth bibs, infantwear, rompers,
                                            coveralls, creepers, baby booties, ties, wristbands,
                                            scarves, socks, hosiery in class 025.

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                                          For: clothing, namely, shirts, shorts, dresses, socks,
                                          underwear, jackets, sweaters, pants, visors, caps,
                                          bibs, infantwear, namely, baby shorts sets, romper
1,617,698                                 sets, baby pants, coveralls; outerwear, namely,
                                          uniforms and pullovers, ties, robes and
                                          loungewear, sweatshirts, knitted headwear, hosiery,
                                          wristbands, robes, and shoes in class 025.

                                          For: jewelry, namely, bracelets, charms, earrings,
                                          rings, necklaces, pendants, watches, costume
2,569,970                                 jewelry, medallions, lapel pins, tie clips, tie
                                          fasteners, cuff links, belt buckles of precious metal,
                                          money clips of precious metal, clocks, non-
                                          monetary coins of precious metal in class 014.
                                          For: clothing, namely, caps, hats, visors, knitted
                                          headwear, shirts, t-shirts, tank tops, sweaters,
                                          turtlenecks, pullovers, vests, shorts, baseball
                                          uniforms, jerseys, warm-up suits, sweatshirts,
                                          sweatpants, underwear, boxer shorts, robes,
2,573,503
                                          sleepwear, jackets, cloth bibs, infantwear, infant
                                          diaper covers, cloth diaper sets with undershirt and
                                          diaper cover, rompers, coveralls, creepers, baby
                                          booties, ties, belts, wristbands, scarves, footwear,
                                          socks, slippers, aprons in class 025.


The above U.S. registrations for the MLB Trademarks are valid, subsisting, in full force and

effect, and all are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the MLB

Trademarks constitute prima facie evidence of their validity and of MLB’s exclusive right to use

the MLB Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the Federal

Trademark Registrations for the above MLB Trademarks are attached hereto as Exhibit 2.

       20.    MLB Trademarks are widely known to and enormously popular with both sports

fans and the general public. MLB has promoted and advertised the MLB Clubs, games between

the MLB Clubs, related events, and MLB Trademarks extensively for many years.               MLB

Trademarks are among the most renowned and immediately recognizable marks in professional

sports today. As a result of substantial advertising, promotion and media attention, and MLB’s


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extensive licensing and sponsorship program for a wide variety of goods and services, MLB

Trademarks have acquired secondary meaning and represent significant goodwill of great value

to the MLB Entities.

       21.     Hundreds of millions of customers have attended games between the MLB Clubs

and related events, enjoyed television and radio broadcasts of games between the MLB Clubs

and related events, and purchased merchandise bearing MLB Trademarks to identify with their

favorite MLB Clubs. Millions visit <MLB.com>, the official Major League Baseball website, as

well as the official websites of the individual MLB Clubs, which prominently display, and in

many cases are accessed by domain names containing, MLB Trademarks.

       22.     A significant aspect of MLB’s business and resulting revenues has been for many

years, and continues to be, the merchandising and licensing of MLB Trademarks. MLB has

entered into numerous licensing agreements in the United States and around the world,

authorizing use of MLB Trademarks on a wide variety of products, including apparel, caps,

jewelry, toys, furniture, pennants, and bags, among others (collectively, “MLB Products”).

Retail sales of MLB Products exceeded $1 billion in 2016.

       23.     MLB, directly and through authorized licensees, has established and maintained

high standards of quality for MLB Products, and continues to maintain stringent quality control

over licensees and other authorized users of MLB Trademarks.

       24.     In supervising licensees, MLB provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of MLB

Trademarks, including typeface and typography, color renderings, official uniform scripts,

graphic designs, materials, workmanship, and quality. All MLB Products are reviewed under

these strict quality control procedures.



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       25.    As a result of the extensive use of MLB Trademarks, not only in connection with

well-known baseball games between the MLB Clubs and related events, but also in connection

with a wide variety of licensed merchandise promoted, sold and/or rendered in the United States

and abroad, as well as widespread use in connection with a broad array of sponsorship activities

spanning diverse industries, such trademarks have for many decades, and long prior to any use

made by Defendants, functioned as unique identifiers and synonyms in the public mind for MLB

and its affiliated and related MLB Clubs. As a result, MLB Trademarks are famous and possess

significant goodwill of great value to MLB and its affiliated and related MLB Clubs.

       26.    To protect MLB Trademarks from infringement, dilution, disparagement, and

misappropriation, MLB, in collaboration with CAPS, has established a comprehensive program

of trademark protection, including regularly investigating suspicious websites identified in

proactive Internet sweeps or reported by consumers.       MLBP and MLBAM manage these

activities on behalf of MLB.

NHL Enterprises L.P.

       27.    Plaintiff NHLE is a Delaware limited partnership having a principal place of

business at 1185 Avenue of the Americas, New York, New York.

       28.    The National Hockey League (“NHL”) is an unincorporated association organized

as a joint venture to operate a professional ice hockey league consisting of thirty-one (31)

member clubs (the “NHL Teams”), including the 2015 Stanley Cup Champion Chicago

Blackhawks. The NHL has existed since 1917 and has consistently attracted a large public

following, both in the United States and worldwide.

       29.      NHLE is the exclusive national United States licensee of the famous and

distinctive trademarks of the NHL (including names, logos, symbols, emblems, uniform designs,



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uniform trade dress colors, and other identifying indicia associated with the NHL) (“NHL

League Trademarks”), and is authorized by the NHL to enforce the rights in the NHL League

Trademarks. In addition, NHLE is the exclusive national United States licensee of the famous

and distinctive trademarks of the NHL Teams collectively (including names, logos, symbols,

emblems, uniform designs, uniform trade dress colors, and other identifying indicia associated

with the NHL Teams) (“NHL Team Trademarks,” and, together with the “NHL League

Trademarks,” the “NHL Trademarks”). NHLE is authorized by the NHL Teams to enforce the

rights in the NHL Team Trademarks. The NHL Trademarks include, but are not limited to, those

that are the subject of valid and subsisting trademark registrations on the Principal Register of

the United States Patent and Trademark Office and those that the NHL and the NHL Teams have

adopted and used in commerce throughout the United States, including in Illinois. In particular,

NHLE is the exclusive United States licensee of and is authorized to enforce over one hundred

(100) United States federal trademark registrations for NHL League Trademarks in a variety of

classes and for a variety of different goods and services, including, without limitation, for

apparel such as jerseys, shirts, caps, and other products in international class 25. Among the

NHL League Trademarks are the word mark “NHL” (reg. no. 1,962,135) and the NHL Logo:



        (reg. no. 3,248,499). A non-exhaustive list of the NHL League Trademarks, registered

with the United States Patent and Trademark Office and currently in use in commerce, includes

the following:

  Registration            Trademark                           Goods and Services
   Number
                                               For: clothing, namely, shirts, jerseys, sweaters,
                                               jackets, sweatshirts, t-shirts, pants, sweatpants,
1,962,135                     NHL              warm-up suits, wristbands, headbands, shorts,
                                               caps, hats, socks, nightshirts, scarves, mittens
                                               and cloth bibs in class 025.

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                                        For: clothing, namely, caps, cloth bibs, hats,
                                        jackets, jerseys, shirts, shorts, sweaters,
2,422,903           STANLEY CUP
                                        sweatpants, sweatshirts, t-shirts, ties, vests and
                                        warm-up suits in class 025.
                                        For: items made of precious and non-precious
                                        metals, namely, commemorative coins, and
                                        medals; trophies and key chains made of
                                        precious metals; jewelry, charms, earrings,
4,631,182                NHL
                                        medallions, rings, necklaces, tie tacks, pins in the
                                        nature of jewelry; chronometric instruments in
                                        the nature of docks and clocks in class 014.


4,767,415           STANLEY CUP         For: precious metal trophies in class 014.

                                        For: clothing and footwear; namely, jerseys,
                                        sweaters, jackets, sweatshirts, t-shirts,
1,678,612                               sweatpants, shirts, caps, hats in class 025.


                                        For: clothing, namely, bandannas, beach cover-
                                        ups, belts, body suits, boxer shorts, caps, cloth
                                        bibs, coats, dresses, footwear, ear muffs, gloves,
                                        hats, headbands, hosiery, housecoats, jackets,
                                        jerseys, leggings, leotards, mittens, nightshirts,
                                        pajamas, pants, rain coats, rain wear, robes,
3,248,499
                                        scarves, shirts, shorts, skirts, socks, suits, sun
                                        visors, suspenders, sweaters, sweatpants,
                                        sweatshirts, swimsuits, swim trunks, t-shirts, ties,
                                        toques, underwear, vests, warm-up suits and
                                        wristbands in class 025.

                                        For: items made of precious and non-precious
                                        metals, namely, commemorative coins, and
                                        medals; trophies and key chains made of
                                        precious metals; jewelry, charms, earrings,
5,165,350
                                        medallions, rings, necklaces, tie tacks, pins in the
                                        nature of jewelry; chronometric instruments in
                                        the nature of docks and clocks in class 014.

                                        For: clothing, namely, caps, cloth bibs, hats,
                                        jackets, jerseys, shirts, shorts, sweaters,
2,395,418                               sweatpants, sweatshirts, t-shirts, ties, vests and
                                        warm-up suits in class 025.


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4,677,429                                      For: Items made of precious and non-precious
                                               metals, namely, commemorative coins, and
                                               medals; key chains made of precious metals;
                                               jewelry, charms, earrings, medallions, rings,
                                               necklaces, tie tacks, pins in the nature of jewelry;
                                               chronometric instruments in the nature of docks
                                               and clocks in class 014.

The above U.S. registrations for the NHL League Trademarks are valid, subsisting, in full force

and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the

NHL League Trademarks constitute prima facie evidence of their validity and of NHLE’s

exclusive right to use the NHL Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct

copies of the Federal Trademark Registrations for the above NHL League Trademarks are

attached hereto as Exhibit 3.

       30.     The NHL brand of professional hockey and NHL Trademarks are widely known

to and enormously popular with both sports fans and the general public. NHLE has promoted

and advertised the NHL, the NHL Teams and NHL Trademarks extensively for many years.

NHL Trademarks are among the most renowned and immediately recognizable marks in

professional sports today. As a result of substantial advertising, promotion and media attention,

and NHLE’s extensive licensing and sponsorship program for a wide variety of goods and

services, NHL Trademarks have acquired secondary meaning and represent significant goodwill

of great value to the NHL, NHLE and the NHL Teams.

       31.     Millions of fans have attended NHL games and related events, enjoyed television

and radio broadcasts of NHL games and related events, and purchased merchandise bearing NHL

Trademarks to identify with their favorite NHL Teams. Millions visit <NHL.com>, the official

NHL website, as well as the official websites of the individual NHL Teams, which prominently

display, and in many cases are accessed by domain names containing, NHL Trademarks.



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       32.     A significant aspect of NHLE’s business and resulting revenues has been for

many years, and continues to be, the merchandising and licensing of the NHL Trademarks.

NHLE has entered into numerous licensing agreements in the United States, authorizing use of

NHL Trademarks on a wide variety of products, including apparel, caps, jewelry, toys, furniture,

pennants, and bags, among others (collectively, “NHL Products”). Retail sales revenue in 2017

of NHL Products was in the hundreds of millions of dollars.

       33.     NHLE, directly and through authorized licensees, has established and maintained

high standards of quality for NHL Products, and continues to maintain stringent quality control

over licensees and other authorized users of NHL Trademarks.

       34.     In supervising licensees, NHLE provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of NHL

Trademarks, including typeface and typography, color renderings, official uniform scripts,

graphic designs, materials, workmanship, and quality. All NHL Products are reviewed under

these strict quality control procedures.

       35.     As a result of the extensive use of NHL Trademarks, not only in connection with

the NHL’s well-known hockey games and related events, but also in connection with a wide

variety of licensed merchandise sold and/or rendered in the United States and abroad, as well as

widespread use in connection with a broad array of sponsorship activities spanning diverse

industries, such trademarks have for many decades, and long prior to any use made by

Defendants, functioned as unique identifiers and synonyms in the public mind for NHLE, the

NHL, and the NHL Teams. As a result, NHL Trademarks are famous and possess significant

goodwill of great value to the NHL, the NHL Teams and NHLE.




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       36.     To protect NHL Trademarks from infringement, dilution, disparagement, and

misappropriation, NHLE, in collaboration with CAPS, has established a comprehensive program

of trademark protection, including regularly investigating suspicious websites identified in

proactive Internet sweeps and reported by consumers.

IMG College Licensing, LLC

       37.     Plaintiff IMGCL is a Georgia limited liability company having its principal place

of business at 1075 Peachtree Street, Suite 3300, Atlanta, Georgia 30309.

       38.     Plaintiff IMGCL is a trademark licensing and enforcement agent that represents

more than 190 colleges, universities, bowl games, and collegiate athletic conferences, including

the University of Nebraska (“UN”).

       39.     In addition to UN, IMGCL is the trademark licensing agent for numerous other

collegiate institutions including, without limitation, the University of Alabama, the University of

Oklahoma, Oklahoma State University, the University of California Los Angeles, the University

of South Carolina, Auburn University, the University of Florida, Duke University, and West

Virginia University (collectively, “Additional IMGCL University Clients”) whose trademarks

(the “Additional IMGCL Protected Trademarks”) are used on Counterfeit Products without

authorization and sold by one or more Defendants. Although not named as Plaintiffs herein, the

Additional IMGCL University Clients have been and continue to be damaged by the

unauthorized trademark use of the Defendants, and IMGCL suffers harm and damages as a result

of these actions.

       40.     A significant aspect of IMGCL’S business has been for many years, and

continues to be, the licensing of famous collegiate trademarks including, but not limited to, the

UN Trademarks [not defined until page 23], which are owned by Plaintiff UN Board of Regents,



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as well as the Additional IMGCL Protected Trademarks (collectively, the "Collegiate

Trademarks"). Indeed, the efforts of IMGCL together with the enormous popularity of the

Collegiate Trademarks create valuable licensing royalties that support a myriad of programs and

operations of UN and the Additional IMGCL University Clients. IMGCL, on behalf of UN and

the Additional IMGCL University Clients, has entered into numerous trademark licensing

agreements in the United States and around the world, authorizing use of famous Collegiate

Trademarks on a wide variety of products, including jerseys, caps, other apparel, and many other

products. As IMGCL generates revenues based upon the sale of licensed products, IMGCL is

damaged by the sale of Counterfeit Products, which decreases sales of licensed Genuine Products

and thus causes IMGCL significant financial and irreparable harm.

       41.      IMGCL also uses its trademarks (collectively, the “IMGCL Trademarks”) in

connection with the licensed products using Collegiate Trademarks. The United States Patent

and Trademark Office has granted IMGCL numerous federal registrations for the IMGCL

Trademarks, including, but not limited to, the following registrations:

 Registration                 Trademark                          Goods and Services
  Number
  1,891,318             THE COLLEGIATE                 For: business consultation in the field
                      LICENSING COMPANY                of trademark licensing management,
                                                       market development in the field of
                                                       trademark licensing programs and
                                                       administration of trademark licensing
                                                       for others in class 035.

   1,891,319                     CLC                   For: business consultation in the field
                                                       of trademark licensing management,
                                                       market development in the field of
                                                       trademark licensing programs and
                                                       administration of trademark licensing
                                                       for others in class 035.

   3,163,116             COLLEGE VAULT                 For: clothing, namely, sweatshirts,
                                                       sweatpants, shirts, T-shirts, sweaters,

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                                           hats, caps, jackets, coats, uniforms,
                                           jerseys, undergarments, scarves, ties,
                                           visors, shorts, rainwear, and gloves in
                                           class 025.

1,578,038                                  For: licensing services in the field of
                                           collegiate products and promotions for
                                           colleges, universities and post-season
                                           bowls in class 035.




2,071,504                                  For: licensing services in the field of
                                           collegiate products and promotions for
                                           colleges, universities and post-season
                                           bowls in class 035.




3,221,094                                  For: video game discs, and video game
                                           software, decorative magnets, computer
                                           mouse pads, neon signs, sunglasses in
                                           class 009.

                                           For: jewelry including watches, clocks,
                                           charms, pendants, earrings, cuff links,
                                           powder compacts of precious metal,
                                           lapel pins, tie tacks and bars, medals,
                                           and commemorative coins in class 014.

                                           For: paper and paper products, namely,
                                           spiral notebooks, pens, pencils, greeting
                                           cards, postcards, prints, letter openers,
                                           decals, bumper stickers, calendars,
                                           paper napkins, note pads, checkbook
                                           covers, bank checks, bookmarks, loose
                                           leaf binders, stationery-type portfolios,
                                           desk sets, book covers, bookends,
                                           trading cards, pen and pencil cases,
                                           paper weights, posters, and stickers in
                                           class 016.

                                           For: luggage, namely, athletic bags,
                                           attache cases, backpacks, barrel bags,

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                                          book bags, duffel bags, tote bags,
                                          garment bags for travel, wallets,
                                          billfolds, purses, briefcase-type
                                          portfolios, key cases, business and
                                          credit card cases, change purses,
                                          umbrellas, patio umbrellas, animal
                                          leashes and collars for pets in class 018.

                                          For: furniture and plastics, namely,
                                          mirrors, picture frames, pillows,
                                          plaques, and wind chimes in class 020.

                                          For: house wares and household goods,
                                          namely, non-metal piggy banks, wicker
                                          baskets, beer mugs, portable beverage
                                          coolers, drinking glasses, bottle
                                          openers, lunch boxes, soap dishes, ice
                                          buckets, coasters not of paper and not
                                          being table linen, coffee cups, plates,
                                          commemorative plates, paper plates,
                                          cookie jars, bowls, shot glasses, fitted
                                          picnic baskets, stained glass
                                          decorations, statues made of china,
                                          crystal, glass, or porcelain, and plastic
                                          cups in class 021.

                                          For: textiles, namely, textile fabrics for
                                          home and commercial interiors,
                                          curtains, cloth pennants, cloth flags, bed
                                          blankets, throw blankets, bed sheets,
                                          pillow cases, bed spreads, pot holders,
                                          kitchen towels, oven mitts, bath towels,
                                          and washcloths in class 024.

                                          For: apparel, namely, t-shirts, polo
                                          shirts, rugby tops, jerseys, turtlenecks,
                                          infant one piece outfits, pajamas, boxer
                                          shorts, nightshirts, tank tops, shorts,
                                          pants, jeans, socks, ties, scarves, shoes,
                                          slippers, sandals, nightgowns,
                                          sweatpants, sweatshirts, wristbands,
                                          head bands, hats, caps, visors, aprons,
                                          blazers, vests, jackets, raincoats,
                                          ponchos, leather coats, wind resistant
                                          jackets, warm up suits, athletic
                                          uniforms, bandanas, suspenders, cloth

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                                                     bibs, booties, bathing trunks, bikinis,
                                                     gloves, mittens, bathing suits, bathing
                                                     caps, and belts in class 025.

                                                     For: games and playthings, namely,
                                                     stuffed toy animals, stuffed toys,
                                                     balloons, board games, flying discs,
                                                     dolls, toy vehicles, plush toys, toy
                                                     banks, playing cards, bean bags,
                                                     basketballs, footballs, miniature
                                                     basketball hoop and backboard, golf
                                                     balls, golf clubs, golf putters, golf club
                                                     covers, golf tees, golf gloves, basketball
                                                     backboard, yo-yos, ornaments for the
                                                     Christmas tree, snow globes in class
                                                     028.

The above U.S. registrations for the IMGCL Trademarks are valid, subsisting, in full force and

effect, and all are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the IMGCL

Trademarks constitute prima facie evidence of their validity and of IMGCL’S exclusive right to

use the IMGCL Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the

Federal Trademark Registrations for the above IMGCL Trademarks are attached hereto as

Exhibit 4.

       42.    As a result of the extensive use of IMGCL Trademarks in connection with a wide

variety of licensed merchandise promoted, sold and/or rendered in the United States and abroad,

as well as widespread use in connection with a broad array of sponsorship activities spanning

diverse industries, such trademarks have for many decades, and long prior to any use made by

Defendants, functioned as unique identifiers and synonyms in the public mind for IMGCL. As a

result, IMGCL Trademarks are famous and possess significant goodwill of great value to

IMGCL.

       43.    To protect IMGCL Trademarks from infringement, dilution, disparagement, and

misappropriation, IMGCL, in collaboration with CAPS, has established a comprehensive

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program of trademark protection, including regularly investigating suspicious websites identified

in proactive Internet sweeps and reported by consumers.

Board of Regents of the University of Nebraska on behalf of the University of Nebraska –
Lincoln

       44.    Plaintiff UN Board of Regents is a public body corporate and instrumentality of

the State of Nebraska organized and existing under the constitution and laws of the State of

Nebraska. UN has its principal place of business in Lincoln, Nebraska 68583. The governing

body of UN is the UN Board of Regents. The UN Board of Regents oversees management of

UN, including management of its trademark affairs.

       45.    UN, established as a land-grant university in 1869, is the flagship public research

university in Nebraska. UN offers a wide range of undergraduate, graduate and professional

programs for its more than 26,000 students at its Lincoln, Nebraska campus, and more than

39,000 students university-wide.

       46.    As a member of the Big Ten Conference, UN competes in twenty-two (22)

Division I intercollegiate varsity sports. The UN football team has won forty-six (46) conference

championships and five (5) national championships, and is one of ten (10) Division I teams to

win 800 or more games. In addition to the five (5) national championships in football, UN’s

teams have won eight (8) national titles in men’s gymnastics, seven (7) in women’s bowling, five

(5) in women’s volleyball, and three (3) in women’s indoor track and field.

       47.    The UN Board of Regents is the owner of the famous and distinctive trademarks

of UN and is responsible for protecting those trademarks.          The UN Board of Regents

commercially exploits, protects and enforces rights in the famous and distinctive trademarks,

names, logos, symbols, emblems, uniform designs, uniform trade dress colors, and other

identifying indicia associated with UN (collectively, the “UN Trademarks”), including, but not

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limited to, those that are the subject of valid and subsisting trademark registrations on the

Principal Register of the United States Patent and Trademark Office and those that the UN Board

of Regents has adopted and used in commerce throughout the United States, including in Illinois.

The UN Board of Regents owns more than ten United States federal trademark registrations in a

variety of classes and for a variety of different goods and services, including, without limitation,

many for apparel such as jerseys, shirts, caps, and other products in international class 25.

Among the UN Trademarks are the word mark “CORNHUSKERS” (reg. no. 2,081,721) and the



NEBRASKA N Logo:                (reg. no. 2,081,720). A non-exhaustive list of the famous and

distinctive UN Trademarks owned and/or licensed by the UN Board of Regents, registered

before the United States Patent and Trademark Office, and currently in use in commerce include

the following:

     Registration          Trademark                           Goods and Services
      Number
                                                For: clothing, namely, caps, jackets, shirts, sweat
      2,081,721
                        CORNHUSKERS             pants, sweat shirts, T-shirts, and infantwear in
                                                class 025.
                                                For: Notebooks, notepads, envelopes, stationery,
                                                folders, posters, calendars, trading cards,
                                                postcards, decals, stickers, pencils, pens, binders
                                                and printed publications, namely magazines,
                                                newsletters, books, and programs related to
                                                activities of or sponsored by the University in
                                                class 016.
      2,546,398
                           HUSKERS
                                                For: Clothing, namely, caps, jackets, shirts, sweat
                                                pants and sweatshirts, T-shirts, boxer shorts and
                                                infantwear in class 025.

                                                For: Entertainment services, namely, arranging
                                                and conducting athletic events and tournaments
                                                and live musical performances in class 041.
                                                For: automobile accessories, namely trailer hitch
      2,593,946
                        BLACKSHIRTS             covers and wheel covers in class 012.


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                                    For: printed goods, namely, notebooks, notepads,
                                    binders, envelopes, stationery, folders, posters,
                                    calendars, trading cards, postcards, decals,
                                    stickers, and pencils and pens in class 016.

                                    For: household items, namely, drinking glasses,
                                    shot glasses, drinking steins, mugs, cups, and
                                    coasters made of stone in class 021.

                                    For: printed fabric items, namely, flags, cloth
                                    banners, bed sheets, bed blankets, and towels in
                                    class 024.

                                    For: clothing, namely, caps, jackets, shirts, sweat
                                    pants and sweatshirts, T-shirts, boxer shorts and
                                    infant wear in class 025.
                                    For: Notebooks, notepads, envelopes, stationery,
                                    folders, posters, calendars, trading cards,
                                    postcards, decals, stickers, pencils, pens, binders
                                    and printed publications, namely magazines,
                                    newsletters, books, and printed programs related
                                    to activities of or sponsored by the University in
                                    class 016.

                                    For: Clothing, namely, caps, jackets, shirts,
                                    sweaters, sweat pants and sweatshirts, T-shirts,
                                    boxer shorts, and infant wear in class 025.

 2,614,766     UNIVERSITY OF        For: Educational services, namely providing
                NEBRASKA            classes, courses, seminars, workshops,
                                    conferences and lectures at the undergraduate,
                                    graduate, post-graduate, adult education and
                                    professional levels in a wide variety of fields as
                                    well as providing such services via a global
                                    computer and telecommunications network;
                                    magazine and book publication; radio and
                                    television program production; entertainment
                                    services, namely, arranging and conducting
                                    athletic events and tournaments, university
                                    educational exhibitions, university educational
                                    conferences, festivals, dramatic and musical
                                    productions and films in class 041.
                                    For: paper goods and printed matter, namely,
 2,619,866                          notebooks, notepads, stationery, folders, posters,
                  NEBRASKA
                                    calendars, trading cards, postcards, decals,
                                    stickers, pencils, pens, binders magazines,

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                                    newsletters, books and printed programs related
                                    to the activities of or sponsored by the University
                                    in class 016.

                                    For: clothing, namely, caps, jackets, shirts, sweat
                                    pants, sweatshirts, t-shirts, boxer shorts, infant
                                    wear and athletic uniforms in class 025.
                                    For: Clothing, namely, caps, jackets, shirts, sweat
                                    pants, sweatshirts, T-shirts, boxer shorts, infant
 2,875,938                          wear and athletic uniforms, all exclusively for
                      NU
                                    promoting activities of, showing support for,
                                    and/or showing affiliation with the University of
                                    Nebraska in class 025.
 2,905,974                          For: Clothing, namely, caps, jackets, shirts, sweat
               HUSKER NATION        pants and sweatshirts, T-shirts, boxer shorts and
                                    infantwear in class 025.
 3,006,964                          For: Notebooks, notepads, envelopes, stationery,
                                    folders, posters, calendars, postcards, decals,
                                    stickers, pencils, pens, binders and printed
                                    publications, namely magazines, newsletters,
                                    books, and programs related to activities of or
                                    sponsored by the University in class 016.

                                    For: Clothing, namely, caps, jackets, shirts,
                                    sweaters, sweat pants and sweatshirts, T-shirts,
                                    boxer shorts and infantwear in class 025.

                                    For: Educational services, namely providing
                                    classes, courses, seminars, workshops,
                                    conferences and lectures at the undergraduate,
                                    graduate, post-graduate, adult education and
                                    professional levels in a wide variety of fields as
                                    well as providing such services via a global
                                    computer and telecommunications network;
                                    magazine and book publication; radio and
                                    television program production; entertainment
                                    services, namely, arranging and conducting
                                    athletic events and tournaments, university
                                    educational exhibitions, university educational
                                    conferences, live performances, festivals,
                                    dramatic and musical productions and films in
                                    class 041.




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 2,081,713

                                    For: clothing, namely, caps, jackets, shirts, sweat
                                    pants, sweat shirts, T-shirts, and infantwear in
                                    class 025.


 2,081,720                          For: clothing, namely, caps, jackets, shirts, sweat
                                    pants, sweat shirts, T-shirts, infantwear, and
                                    athletic uniforms in class 025.

                                    For: education and entertainment services,
                                    namely, providing courses of instruction at the
                                    university level; educational research; arranging
                                    and conducting athletic events and tournaments,
                                    exhibitions, conferences, live performances and
                                    festivals in class 041.
 3,207,798


                                    For: Athletic uniforms; Baseball caps; Infant and
                                    toddler one piece clothing; Jackets; Sweat pants;
                                    Sweat shirts; T-shirts in class 025.



 4,537,621                          For: Earrings, necklaces, ornamental pins in class
                                    014.

                                    For: Bumper stickers, decals, pencils, temporary
                                    tattoos in class 016.

                                    For: Bottle openers, mugs, drinking glasses,
                                    namely, tumblers in class 021.

                                    For: Cloth banners, cloth pennants, towels in
                                    class 024.

                                    For: Shirts, sweaters, sweatshirts, shorts, jerseys,
                                    headwear, gloves in class 025.
 5,179,021                          For: Keyrings of common metal in class 006.

                                    For: Mousepads in class 009.

                                    For: Aftermarket automobile accessories,
                                    namely, car interior organizer bags, nets and trays

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                                               specially adapted for fitting in vehicles in class
                                               012.

                                               For: Decorative decals for vehicle windows in
                                               class 016.

                                               For: Mugs; Sports bottles sold empty; Water
                                               bottles sold empty in class 021.

                                               For: Fabric flags in class 024.

                                               For: Athletic apparel, namely, shirts, pants,
                                               jackets, footwear, hats and caps, athletic
                                               uniforms; Infantwear; Short-sleeved or long-
                                               sleeved t-shirts; Sweatshirts in class 025.

The above U.S. registrations for the UN Trademarks are valid, subsisting, in full force and effect,

and all are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the UN Trademarks

constitute prima facie evidence of their validity and of UN Board of Regents’ exclusive right to

use the UN Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the Federal

Trademark Registrations for the above UN Trademarks are attached hereto as Exhibit 5.

       48.     UN intercollegiate football, baseball, basketball and other athletic teams

(collectively, the “UN Teams”) and the UN Trademarks are widely known to and enormously

popular with both sports fans and the general public. The UN Board of Regents has promoted

and advertised UN, the UN Teams and the UN Trademarks extensively for many years. The UN

Trademarks are among the most renowned and immediately recognizable marks in college sports

today. As a result of substantial advertising, promotion and media attention, and the UN Board

of Regents’ extensive licensing and sponsorship program for a wide variety of goods and

services, the UN Trademarks have acquired secondary meaning and represent significant

goodwill of great value to UN, the UN Board of Regents and the UN Teams.




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       49.     Millions of fans have attended UN sports games and related events, enjoyed

television and radio broadcasts of UN games and related events, and purchased merchandise

bearing the UN Trademarks to identify with their favorite UN Team. Thousands more visit

<huskers.com>, the official UN athletics website, which prominently displays the UN

Trademarks.

       50.     A significant aspect of UN Board of Regents’ business and resulting revenues has

been for many years, and continues to be, the merchandising and licensing of the UN

Trademarks.    UN Board of Regents, in conjunction with its licensing agent IMG College

Licensing, LLC (“IMGCL”), has entered into numerous licensing agreements in the United

States and around the world, authorizing use of the UN Trademarks on a wide variety of

products, including apparel, caps, jewelry, toys, furniture, pennants, and bags, among others

(collectively, “UN Products”). Retail sales revenue in 2017 of UN Products totaled more than

$27,500,000 dollars.

       51.     The UN Board of Regents, directly and through authorized licensees, has

established and maintained high standards of quality for UN Products, and continues to maintain

stringent quality control over licensees and other authorized users of the UN Trademarks.

       52.     In supervising licensees, the UN Board of Regents provides licensees and licensed

product manufacturers with specifications setting forth extensive details with respect to use of

the UN Trademarks, including typeface and typography, color renderings, official uniform

scripts, graphic designs, materials, workmanship, and quality. All UN Products and designs

appearing thereon are reviewed under these strict quality control procedures.

       53.     As a result of the extensive use of the UN Trademarks, not only in connection

with UN’s well-known sports games, exhibitions and services, but also in connection with a wide



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variety of licensed merchandise promoted, sold and/or rendered in the United States and abroad,

as well as widespread use in connection with a broad array of sponsorship activities spanning

diverse industries, such trademarks have for many decades, and long prior to any use made by

Defendants, functioned as unique identifiers and synonyms in the public mind for UN and the

affiliated and related UN Teams. As a result, the UN Trademarks are famous and possess

significant goodwill of great value to UN, its affiliated and related UN Teams, and the UN Board

of Regents.

       54.     The MLB Trademarks, the NBA Trademarks, the NHL Trademarks, the IMGCL

Trademarks, and the UN Trademarks are hereinafter collectively referred to as “Plaintiffs’

Trademarks.”

The Defendants

       55.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell Counterfeit Products to consumers within the

United States, including the State of Illinois.

       56.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of many of Plaintiffs’ Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually



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impossible for Plaintiffs to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    In the event that Defendants provide additional credible information

regarding their identities, Plaintiffs will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

       57.     The fame of Plaintiffs’ Trademarks and the success of Plaintiffs’ respective

athletic brands and affiliated variety of products, including apparel, caps, jewelry, toys, furniture,

pennants, and bags, among others (collectively, “Plaintiffs’ Genuine Products”), has resulted in

significant counterfeiting of the trademarks owned by these entities. Trademark Management

LLC (“TML”) administers Coalition to Advance the Protection of Sports logos (“CAPS”) on

behalf of its members, MLBP, NHLE, NBAP, IMGCL and NFL Properties, LLC. CAPS has

created an extensive anti-counterfeiting program, which includes regularly investigating

suspicious websites and online marketplace listings identified in proactive Internet sweeps and

reported by a variety of informants in response to the significant counterfeiting of Plaintiffs’

Trademarks. In recent years, CAPS, on behalf of its above-identified members, has identified

thousands of domain names linked to fully interactive, commercial websites and marketplace

listings on platforms such as iOffer, eBay, AliExpress, and Alibaba, including the Defendant

Internet Stores, which were offering for sale and selling Counterfeit Products to consumers in

this Judicial District and throughout the United States. Despite Plaintiffs’ and CAPS’ collective

enforcement efforts, Defendants have persisted in creating the Defendant Internet Stores.

Internet websites like the Defendant Internet Stores are estimated to receive tens of millions of

visits per year and to generate over $135 billion in annual online sales. According to an

intellectual property rights seizures statistics report issued by Homeland Security, the

manufacturer’s suggested retail price (MSRP) of goods seized by the U.S. government in fiscal



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year 2014 was over $1.23 billion. Internet websites like the Defendant Internet Stores are also

estimated to contribute to tens of thousands of lost jobs for legitimate businesses and broader

economic damages such as lost tax revenue every year.

       58.     Defendants facilitate sales of Counterfeit Products by designing the Defendant

Internet Stores so that they appear to unknowing consumers to be legitimate online retailers,

outlet stores, or wholesalers. Plaintiffs’ Genuine Products are very often sold in stores (both on

the ground and on the Internet) that carry products from all of the Plaintiffs, and on information

and belief, many of the Defendant Internet Stores attempt to exploit this by offering Counterfeit

Products from multiple Plaintiffs. Many of the Defendant Internet Stores look sophisticated and

accept payment in U.S. dollars via credit cards, Alipay, Western Union and PayPal. Numerous

Defendant Domain Names also incorporate one or more of Plaintiffs’ Trademarks into the URL,

and the Defendant Internet Stores often include content and design elements that make it very

difficult for consumers to distinguish such counterfeit sites from a legitimate retailer selling

Plaintiffs’ Genuine Products. Many Defendants further perpetuate the illusion of legitimacy on

the Defendant Internet Stores by falsely alleging to offer customer service and making

unauthorized use of indicia of authenticity and security that U.S. consumers have come to

associate with legitimate retailers, including the Visa®, MasterCard®, and/or PayPal® logos.

Upon information and belief, none of the Plaintiffs have licensed or authorized Defendants to use

any of Plaintiffs’ Trademarks, and, upon information and belief, none of the Defendants are

legitimate retailers of any of Plaintiffs’ Genuine Products.

       59.     Upon information and belief, many Defendants also deceive unknowing

consumers by using one or more of Plaintiffs’ Trademarks without authorization within the

content, text, and/or meta-tags of their websites in order to attract various search engines



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crawling the Internet looking for websites relevant to consumer searches for one or more of

Plaintiffs’ Genuine Products. Additionally, upon information and belief, Defendants use other

unauthorized search engine optimization (SEO) tactics and social media spamming so that the

Defendant Internet Stores listings show up at or near the top of relevant search results and

misdirect consumers searching for one or more of Plaintiffs’ Genuine Products.              Other

Defendants only show Plaintiffs’ Trademarks in product images while using strategic item titles

and descriptions that will trigger their listings when consumers are searching for Plaintiff’s

Genuine Products.

       60.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. On information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal

their identities, the full scope and interworking of their counterfeiting operation, and to avoid

being shut down.

       61.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.          For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. Many of the Defendant Internet Stores sell counterfeit



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versions of products purporting to emanate from all of, or nearly all of, the Plaintiffs. In

addition, the Counterfeit Products for sale in many of the Defendant Internet Stores bear the

same or similar irregularities and/or indicia that identifies them as being counterfeit, suggesting

that the Counterfeit Products were manufactured by and/or obtained from a common source and

that Defendants are interrelated.    The Defendant Internet Stores also include other notable

common features, including use of the same domain name registration patterns, unique shopping

cart platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO

tactics, HTML user-defined variables, domain redirection, lack of contact information,

identically or similarly priced items and volume sales discounts, the same incorrect grammar and

misspellings, similar hosting services, and similar name servers.

       62.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products

in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection.

       63.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts.      On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal



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accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-

shore counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       64.     Defendants, without any authorization or license from any of the Plaintiffs, have

knowingly and willfully used and continue to use one or more of Plaintiffs’ Trademarks in

connection with the advertisement, distribution, offering for sale, and/or sale of the Counterfeit

Products into the United States and Illinois over the Internet. Each Defendant Internet Store

offers Counterfeit Products for sale to residents of the United States, including Illinois, and offers

shipping of Counterfeit Products to the United States, including Illinois.

       65.     Defendants’ use of one or more of Plaintiffs’ Trademarks in connection with the

advertising, distribution, offering for sale and/or sale of Counterfeit Products, including to

residents of Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Plaintiffs.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       66.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 65.

       67.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit or infringing imitations of one or more of Plaintiffs’

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. Plaintiffs’ Trademarks are highly distinctive marks. Consumers have come to

expect the highest quality from Plaintiffs’ respective products sold or marketed under Plaintiffs’

Trademarks.

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       68.     Defendants have sold, offered to sell, marketed, distributed and advertised, and

are still selling, offering to sell, marketing, distributing and advertising products using

counterfeit or infringing reproductions of one or more of Plaintiffs’ Trademarks without

Plaintiffs’ permission or consent.

       69.     Plaintiffs are the owners and/or the exclusive licensees of their respective

Plaintiffs’ Trademarks. The U.S. Registrations for Plaintiffs’ Trademarks (Exhibits 1-5) are in

full force and effect. Upon information and belief, Defendants have knowledge of Plaintiffs’

rights in Plaintiffs’ Trademarks, and are willfully infringing and intentionally using counterfeits

or infringements of one or more of Plaintiffs’ Trademarks. Defendants’ willful, intentional and

unauthorized use of one or more of Plaintiffs’ Trademarks is likely to cause and is causing

confusion, mistake, and deception as to the origin and quality of the counterfeit or infringing

goods among the general public.

       70.     Defendants’     activities   constitute   willful   trademark   infringement     and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       71.     Plaintiffs have no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their well-known Plaintiffs’ Trademarks.

       72.     The injuries and damages sustained by Plaintiffs have been directly and/or

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and/or sale of the Counterfeit Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       73.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 72.

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        74.    Defendants’ promotion, marketing, offering for sale, and/or sale of the

Counterfeit Products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with

Plaintiffs, or as to the origin, sponsorship, or approval of Defendants’ Counterfeit Products by

Plaintiffs.

        75.    By using one or more of Plaintiffs’ Trademarks on the Counterfeit Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Products.

        76.    Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

        77.    Plaintiffs have no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their respective reputations and the

goodwill of Plaintiffs and their respective Plaintiffs’ Trademarks.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

        78.    Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 77.

        79.    Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Products as those of one or more of the Plaintiffs, causing a

likelihood of confusion and/or misunderstanding as to the source of their goods, causing a

likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with one or more of the Plaintiffs’ Genuine Products, representing that their products have any or



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all of Plaintiffs’ approval when they do not, and engaging in other conduct which creates a

likelihood of confusion or misunderstanding among the public.

       80.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       81.      Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs to suffer damage to their respective reputations and the goodwill of Plaintiffs and their

respective Plaintiffs’ Trademarks. Unless enjoined by the Court, Plaintiffs will suffer future

irreparable harm as a direct result of Defendants’ unlawful activities.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily and permanently enjoined and restrained from:

       a. using any of Plaintiffs’ Trademarks or any reproductions, counterfeit copies, or

             colorable imitations thereof in any manner in connection with the distribution,

             promotion, marketing, advertising, offering for sale, or sale of any product that is not

             one of Plaintiffs’ Genuine Products or is not authorized by Plaintiffs to be sold in

             connection with Plaintiffs’ Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any products as Plaintiffs’

             Genuine Products or any other products produced by Plaintiffs that are not Plaintiffs’,

             or not produced under the authorization, control, or supervision of Plaintiffs and

             approved by Plaintiffs for sale under Plaintiffs’ Trademarks;




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       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Products are those sold under the authorization, control, or supervision of

           Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

       d. further infringing Plaintiffs’ Trademarks and damaging Plaintiffs’ goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Plaintiffs, nor authorized by

           Plaintiffs to be sold or offered for sale, and which bear any of Plaintiffs’ trademarks,

           including the Plaintiffs’ Trademarks, or any reproductions, counterfeit copies, or

           colorable imitations thereof;

2) Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Plaintiffs, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and

   change the registrar of record for the Defendant Domain Names to a registrar of Plaintiffs’

   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating     Company,       LLC        (“GoDaddy”),    Name.com,       PDR      LTD.     d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Plaintiffs’

   selection; or that the same domain name registries shall disable the Defendant Domain

   Names and make them inactive and untransferable;

3) Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms



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   such as iOffer, eBay, AliExpress, and Alibaba, web hosts, sponsored search engine or ad-

   word providers, credit cards, banks, merchant account providers, third party processors and

   other payment processing service providers, Internet search engines such as Google, Bing,

   and Yahoo, and domain name registrars, including, but not limited to, GoDaddy, Name.com,

   PDR, and Namecheap, (collectively, the “Third Party Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

           future, to engage in the sale of goods using Plaintiffs’ Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit and infringing goods using

           Plaintiffs’ Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified

           on Schedule A from displaying in search results, including, but not limited to,

           removing links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Plaintiffs all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged and that the amount of damages for infringement

   of Plaintiffs’ Trademarks be increased by a sum not exceeding three times the amount thereof

   as provided by 15 U.S.C. § 1117;

5) In the alternative, that Plaintiffs be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   Plaintiffs’ Trademarks;

6) That Plaintiffs be awarded their reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.




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Dated this 2nd day of July 2018.      Respectfully submitted,


                                      /s/ Justin R. Gaudio_______________
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                                      Nebraska on behalf of the University of Nebraska –
                                      Lincoln




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